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 3 Ph. 916-769-8842

 4
   Attorney for:
 5 EDGAR HERRERA

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 7

 8                            IN THE UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:15-CR-00131 TLN
12                                Plaintiff,              STIPULATION AND ORDER
                                                          CONTINUING JUDGMENT AND
13   v.                                                   SENTENCING
14   EDGAR HERRERA,
15                                Defendant,
16

17
                                               STIPULATION
18
            Plaintiff, United States of America, by and through its counsel of record, and defendant,
19

20 EDGAR HERRERA, by and through his counsel of record, hereby stipulate that judgment and

21 sentencing, currently scheduled for October 26, 2017, may be continued to May 17, 2018, at 9:30

22 a.m. This request for a continuance is made on the grounds that there are issues related to sentencing

23
     that remain unresolved and which constitute good cause to change the time limits for sentencing
24
     within the meaning of F.R.Crim.P. 32(b)(2). Specifically, the parties need additional time to
25
     determine whether there are grounds for a departure from the applicable sentencing guideline range.
26
            The United States Probation Department has been consulted about this continuance and has
27

28 no objection.
                                                      1
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            Counsel for the government has reviewed this stipulation and proposed order and has
 1
     authorized counsel for EDGAR HERRERA to sign and file it on his behalf.
 2

 3

 4 IT IS SO STIPULATED.

 5                                         Philip A. Talbert
                                           United States Attorney
 6
     DATED:        October 10, 2017     By: /s/ Samuel Wong
 7                                         Samuel Wong
                                           Assistant United States Attorney
 8
     DATED:        October 10, 2017        /s/Scott Cameron
 9                                         Scott Cameron
                                           Attorney for Edgar Herrera
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11

12                                             ORDER
13
            IT IS SO ORDERED this 11th day of October, 2017.
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17                                      TROY L. NUNLEY
                                        UNITED STATES DISTRICT JUDGE
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